   Case 1:19-cr-00297-ELR-JSA       Document 433     Filed 09/16/24   Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED STATES OF AMERICA
                                                 Criminal Action No.
         v.
   JULIE CHRISLEY                                1:19-CR-297-ELR-JSA

                      Government’s Sentencing Statement

   The United States of America, by Ryan K. Buchanan, United States Attorney,
and Annalise K. Peters and Alex R. Sistla, Assistant United States Attorneys for

the Northern District of Georgia, files this brief sentencing statement setting forth
the parties’ view of the correct advisory Guidelines calculation. Resentencing is
scheduled for Wednesday, September 25, 2024, where the government will
request that Defendant Julie Chrisley be sentenced to 84 months of
imprisonment—a within Guidelines sentence and the same sentence this Court
imposed at the initial sentencing after considering all the § 3553(a) factors.

   1. Procedural History
   After a three-week trial in April and May 2022, Julie Chrisley (“Julie”) was
convicted of all counts in a superseding indictment. (Doc. 228). On November
21, 2022, this Court held a sentencing hearing and calculated Julie’s adjusted
Guidelines range as 121 to 151 months’ imprisonment based on the 2021 U.S.
Sentencing Guidelines:




                                          1
   Case 1:19-cr-00297-ELR-JSA       Document 433     Filed 09/16/24       Page 2 of 5




            BANK FRAUD
            2B1.1(a)(1)        Base offense level                     7
                               Loss amount between $9.5M and
                               $25M (based on actual loss of
            2B1.1(b)(1)(K)     $17,270,741)                           20
                               Derived >$1M in gross receipts
                               from one or more financial
            2B1.1(b)(10)(C)    institutions                            2
            3C1.1              Obstruction                             2
            TOTAL                                                     31

            TOTAL AFTER GROUPING WITH OTHER COUNTS
            OF CONVICTION                                             32

(Doc. 363 at 110-74).

   The government recommended a within-Guidelines sentence of 144 months
of imprisonment, and Julie requested a non-custodial sentence. (Id. at 178, 209-
10, 214). After considering the Guidelines and the § 3553(a) factors, the Court

sentenced Julie to 84 months’ imprisonment, announcing that it was granting a
downward variance based on her age, health, having minor children at home,
and being a caretaker for elderly parents. (Id. at 223, 227-29). The Court also

ordered Julie to pay $17,270,741 in restitution and entered a forfeiture order for
the same amount. (Docs. 338, 347).
   After Julie appealed her convictions and sentence, the Eleventh Circuit
“affirm[ed] the district court on all issues except for the loss amount attributed to
Julie.” (Doc. 415 at 3). While “sufficient evidence allowed a reasonable jury to
conclude that Julie participated in the conspiracy as early as 2007,” “[t]he district
court did not identify the evidence it relied on to hold Julie accountable for losses
incurred before 2007[.]” (Id. at 3, 32). Accordingly, the court of appeals “vacate[d]
Julie’s sentence so the district court can address the narrow issue of what the


                                          2
    Case 1:19-cr-00297-ELR-JSA      Document 433     Filed 09/16/24   Page 3 of 5




proper loss amount attributable to Julie is for purposes of the base offense level,
restitution, and forfeiture” and “make factual findings about when Julie’s
involvement in the conspiracy began.” (Id. at 44).
   For resentencing purposes, the government does not intend to introduce new
or additional evidence on when Julie joined the bank fraud conspiracy. Instead,
the government will proceed on an actual loss amount of $4.7 million—the actual
loss incurred after Julie’s real estate company received its first fraudulent loan on
July 11, 2007. As the Eleventh Circuit noted, “Special Agent Ryskoski testified at

the sentencing hearing that if he removed loans issued before July 11, 2007,
which was the first date that a fraudulently obtained loan was issued to Julie’s
own company, the actual loss and restitution amount dropped to $4.7 million.”

(Doc. 415 at 44; see also Doc. 363 at 91-92). Undersigned counsel has conferred
with defense counsel, who agrees to proceeding with a loss amount, forfeiture,
and restitution of $4.7 million.1
   At resentencing, the 2023 U.S. Sentencing Guidelines will control.
Accordingly, there will be two changes from the original calculation of the
adjusted Guidelines range:




   1 The government will present a consent forfeiture order at sentencing.




                                          3
   Case 1:19-cr-00297-ELR-JSA     Document 433      Filed 09/16/24       Page 4 of 5




           BANK FRAUD
           2B1.1(a)(1)        Base offense level                     7
                              Loss amount between $3.5M and
                              $9.5M (based on actual loss of
           2B1.1(b)(1)(J)     $4.7M)                                 18
                              Derived >$1M in gross receipts
                              from one or more financial
           2B1.1(b)(10)(C)    institutions                            2
           3C1.1              Obstruction                             2
           4C1.1              Zero-point offender reduction          -2
           TOTAL                                                     27

           TOTAL AFTER GROUPING WITH OTHER COUNTS
           OF CONVICTION                                             28


Based on the foregoing, Julie’s adjusted Guideline range is 78 to 97 months’

imprisonment based on a total offense level of 28 and a criminal history category
I (as opposed to an adjusted range of 121 to 151 months’ imprisonment based on
a total offense level of 32). Undersigned counsel has conferred with defense
counsel, who agrees with the adjusted Guideline range of 78 to 97 months’
imprisonment.
   For the reasons set forth in the government’s original sentencing
memorandum, (Doc. 305), and for the reasons announced by this Court at the
original sentencing hearing, the government will recommend the Court impose a
sentence of 84 months’ imprisonment. At the first sentencing, the government

recommended a within-Guidelines sentence; at resentencing, the government
will urge the Court to do the same, namely, to re-impose the same 84-month
sentence, which is within the new adjusted Guidelines range.




                                        4
Case 1:19-cr-00297-ELR-JSA     Document 433    Filed 09/16/24    Page 5 of 5




Respectfully submitted this 16th day of September 2024.



                                     Respectfully submitted,

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                                    5
